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Supreme Leader of Islamic Republic of Iran

January 11" , 2007
Your Excellency,

in 2001 when pursuit of my father, Siamak Pourzand, started, | was in later years of high school.
This event resulted in serious turbulence in our lives. Since then, | am envying a life where |
could live with my ill and elderly father. Despite all the anguishes, | have been able to get
admission to university and in the midst of tears and sighs, | succeeded in obtaining my

bachelor from Oberlin College in Ohio.

Fortunately, my father has been recently transferred from prison to a hospital and
subsequently to a home. Judge Zafarghandi has granted my father furlough due to his old age.
However, he is 76 years old, ill, and in need of several surgical operations. None of his family
member are next to him as they have been generally intimidated to stay outside the country.
As a result, my father is experiencing an extremely difficult period in isolation in a small

apartment in Poonak neighbourhood of Tehran.

He is suffering from multitude of afflictions. As his younger daughter, | believe it is my duty to
invest all my efforts in ending his absolute isolation and facilitate his treatment outside the

country.

In order for me to carry out my filial duties to my forlorn, ailing and aging father, | seek your
help and implore your excellency to order Judge Zafarghandi who is handling his case in
Mehrabad Airport Judicial complex to authorize issuing a passport to my father and grant him
the permission to leave the country. My only wish is for my father to attend my graduation

ceremony at Oberlin College in May 2007.

| plead for your help to confer on a young Iranian woman whe has spent a difficult life during
her adolescence in the sorrow of her father’s absence. | need your present. | am in a sensitive

and critical stage of my iife. Your gift could grant me new life and drive.
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| am certain that Your Excellency in the position as the supreme guardian will accord attention
to my request and provide me with the opportunity to be grateful to God for having my aging
and ailing father in my graduation ceremony and thankful to you for meeting the emotional and

psychological needs of a young Iranian woman.
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President Nancy Dye

Cox Administration Building, Room 201

Oberlin College, 70 N Professor St., Oberlin, OH 44074
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